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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                  Filed and Entered
                                                                                                      On Docket
                                                                                                     May 9, 2022


In re:
         The Norwich Roman Catholic Diocesan Corporation                                    Case Number: 21−20687
         Debtor*                                                                            Chapter: 11




                 DEFICIENCY NOTICE REGARDING OBJECTION TO CLAIM PROCEDURE




    The Official Committee of Unsecured Creditors has filed an Objection to Claim, ECF No. 588, not in
compliance with this Court's Objection to Claim Procedure, for the reason(s) indicated below:

    Local Form 420B Notice of Objection to Claim not used.

    Deficient Certificate of Service (Not in Compliance with Bankruptcy Rule 7004). Debtor Not Served. Claimant
not served at address listed on the Proof of Claim.

    Deficient Response Deadline. (Date must be at least 30 days after the date the Objection to Claim is filed.)




     Failure to correct and submit an amended objection to claim in compliance with this Court's Objection to Claim
Procedure within five (5) business days from the date of this notice will result in an order denying your objection to
claim.

    NOTE: Moving parties without an attorney have an additional three days to correct and submit an
amended objection to claim in compliance with this Court's Objection to Claim Procedure.


Dated: May 9, 2022


                                                                                              Pietro Cicolini
                                                                                              Clerk of Court


United States Bankruptcy Court                                                      Tel. (860) 240−3675
District of Connecticut                                                             VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                          * Voice Case Information System
Hartford, CT 06103                                                                  http://www.ctb.uscourts.gov
                                                                                    Form 187 −
*For the purposes of this notice, "Debtor" means "Debtors" where applicable.
